                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             DOCKET NO. 3:90-cr-00085-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                      ORDER
                                                )
 DARYL PERNELL CAMPS,                           )
                                                )
                  Defendant.                    )



       THIS MATTER is before the court on defendant’s Reply to Government’s Response to

Motion to Reduce Sentence (#175). Inasmuch as the government’s Response did not address

defendant’s counseled argument concerning determination of drug quantity, the court finds it

appropriate to require the government to file a Surreply addressing this issue.

                                           ORDER

       IT IS, THEREFORE, ORDERED that the government file a Surreply to defendant’s

Reply to Government’s Response to Motion to Reduce Sentence (#175) within 14 days.


 Signed: March 1, 2016




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